                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE

UNITED STATES OF AMERICA,                     )
                                              )
              Plaintiff,                      )
                                              )
v.                                            )      No.:   3:02-CR-78-TAV-CCS-14
                                              )
MICHAEL SMITH,                                )
                                              )
              Defendant.                      )


                      MEMORANDUM OPINION AND ORDER

        This criminal case is before the Court on the defendant’s motion for a sentence

reduction [Doc. 1227]. In the defendant’s motion, the defendant requests that the Court

resentence him pursuant to 18 U.S.C. § 3582(c)(2) and in accordance with Amendment

782 and Amendment 788 to the United States Sentencing Guidelines Manual. The

government has responded [Doc. 1235]. The government defers to the Court’s discretion

whether and to what extent to grant any such reduction, subject to the limitations of 18

U.S.C. § 3582(c)(2) and section 1B1.10 of the United States Sentencing Guidelines

Manual.

I.      Standard of Review

        “Federal courts are forbidden, as a general matter, to modify a term of

imprisonment once it has been imposed, but the rule of finality is subject to a few narrow

exceptions.” Freeman v. United States, 131 S. Ct. 3685, 2690 (2011) (internal citation

and quotation marks omitted). One exception is identified in 18 U.S.C. § 3582(c)(2):




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      [I]n the case of a defendant who has been sentenced to a term of
      imprisonment based on a sentencing range that has subsequently been
      lowered by the Sentencing Commission . . . , the court may reduce the term
      of imprisonment, after considering the factors set forth in section 3553(a) to
      the extent that they are applicable, if such a reduction is consistent with
      applicable policy statements issued by the Sentencing Commission.

The United States Supreme Court has interpreted § 3582(c)(2) as setting forth two

requirements for a sentence reduction. First, “the defendant [must] ha[ve] been sentenced

to a term of imprisonment based on a sentencing range that has subsequently been

lowered by the Sentencing Commission[.]” United States v. Riley, 726 F.3d 756, 758

(6th Cir. 2013) (internal quotation marks and citation omitted). Second, “such reduction

[must be] consistent with applicable policy statements issued by the Sentencing

Commission.” Id. (internal quotation marks omitted). If the reviewing court determines

that the defendant is eligible for a sentence reduction, then “[t]he court may then

‘consider whether the authorized reduction is warranted, either in whole or in part,

according to the factors set forth in § 3553(a).’” United States v. Thompson, 714 F.3d

946, 949 (6th Cir. 2013) (quoting Dillon v. United States, 560 U.S. 817, 826 (2010)).

      In determining whether a defendant has been sentenced to a term of imprisonment

based on a sentencing range that has subsequently been lowered by the Sentencing

Commission, the Court must first determine “the amended guideline range that would

have been applicable to the defendant had the relevant amendment been in effect at the

time of the initial sentencing.” Dillon, 560 U.S. at 827 (internal quotation marks and

citation omitted); see also U.S. Sentencing Guidelines Manual § 1B1.10(b)(1). Other

than substituting Amendment 782 for the corresponding provision applicable when the
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defendant was originally sentenced, the Court “shall leave all other guideline application

decisions unaffected.” Id. And the Court “shall not” reduce a defendant’s term of

imprisonment to a term “less than the minimum of the amended guideline range,” nor to a

term “less than the term of imprisonment the defendant has already served.” Id. §

1B1.10(b)(2)(A), (C).1 In addition to these limits, section 1B1.10 states that a court must

also consider the § 3553 factors and the danger to the public created by any reduction in a

defendant’s sentence. Id. at cmt. n.1(B). A court may further consider a defendant’s

post-sentencing conduct. Id.

II.      Factual Background

         The defendant was convicted of conspiring to distribute and possess with intent to

distribute at least fifty grams of crack cocaine, in violation of 21 U.S.C. §§ 846,

841(a)(1), and 841(b)(1)(A), and discharging a firearm during and in relation to a drug

trafficking offense, in violation of 18 U.S.C. § 924(c) [Doc. 911]. At the time of

sentencing, the defendant was held responsible for 1.5 kilograms of crack cocaine

[Presentence Investigation Report (“PSR”) ¶¶ 56, 74]. Given the amount of drugs for

which the defendant was held responsible, the defendant’s base offense level was 38

[Id.]. The defendant received a two-level enhancement for obstructing justice, yielding a

total offense level of 40 [Id. ¶¶ 78, 81]. Given the defendant’s criminal history category

of I, the defendant’s then-mandatory applicable guideline range was 292 to 365 months’
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         Section 1B1.10 provides one exception to the rule that a defendant may not receive a
sentence below the amended guideline range—namely, if the defendant originally received a
below-guideline sentence “pursuant to a government motion to reflect the defendant’s substantial
assistance to authorities.” U.S. Sentencing Guidelines § 1B1.10(b)(2)(B). That is not the case
here.
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imprisonment for the drug offense, followed by a 120-month mandatory term of

imprisonment for the firearms offense [Id. ¶¶ 86, 105, 106].

      The Court originally sentenced the defendant to 412 months’ imprisonment—292

months for the drug offense and 120 months for the firearms offense [Doc. 782], which is

within the range produced by the Guidelines. The defendant appealed his sentence, and

the Sixth Circuit vacated his sentence and remanded for resentencing in light of United

States v. Booker, 534 U.S. 220 (2005). On remand, the Court granted the defendant’s

motion for downward departure, and sentenced the defendant to 200 months for his drug

offense—a 32 percent departure from the bottom of the applicable guidelines range—

followed by the mandatory minimum 120-month term of imprisonment for the firearms

offense [Doc. 911].

      Thereafter, the Sentencing Commission lowered the base offense level for

offenses involving crack cocaine, and the Court determined that the defendant was

eligible for a sentence reduction pursuant to 18 U.S.C. § 3582(c), as the defendant’s new

applicable guidelines range for his drug offense was 235 to 293 months’ imprisonment.

At the time, courts were authorized to reduce a defendant’s sentence by a comparable

percentage after applying the amended guidelines range. U.S. Sentencing Guidelines

Manual § 1B1.10(b)(2)(B) (2008). Accordingly, the Court departed 32 percent below the

defendant’s amended guidelines range for his drug offense, and imposed a sentence of

160 months’ imprisonment for the drug offense, followed by a statutorily-mandated

consecutive term of 120 months’ imprisonment for the firearms offense [Doc. 996].

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According to the government, the defendant is presently scheduled for release on June

18, 2023 [Doc. 1235].

III.   Analysis

       Amendment 782 to the Guidelines, which became effective on November 1, 2014,

revised the Guidelines applicable to drug-trafficking offenses by reducing by two levels

the offense levels assigned to the drug quantities described in section 2D1.1. U.S.

Sentencing Guidelines Manual App. C, amend. 782.            Amendment 782 also makes

corresponding changes to section 2D1.11. Amendment 788, which became effective on

November 1, 2014, as well, identified Amendment 782 as retroactive. U.S. Sentencing

Guidelines Manual App. C, amend. 788.

       Applying Amendment 782, the defendant’s revised base offense level is 32, and

affording the defendant the same adjustments the defendant originally received, the

defendant’s new total offense level is 34.       U.S. Sentencing Guidelines Manual §

1B1.10(b)(1). A total offense level of 34 and a criminal history category of I results in an

amended guideline range of 151 to 188 months’ imprisonment for the drug offense.

Thus, the defendant was sentenced to a term of imprisonment for the drug offense based

on a sentencing range that has subsequently been lowered by the Sentencing

Commission. The defendant remains subject to the statutorily-mandated consecutive

120-month term of imprisonment for the firearms offense.

       Next, the Court must determine whether a sentence reduction is consistent with

applicable policy statements issued by the Sentencing Commission. See U.S. Sentencing

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Guidelines Manual § 1B1.10.         “[T]o satisfy the second requirement, a guidelines

amendment must have had the effect of lowering the defendant’s applicable guideline

range.” Riley, 726 F.3d at 758 (internal quotation marks and citations omitted). As

discussed, that is the case here.

       The Court will now consider the § 3553(a) factors in determining whether and to

what extent the defendant’s sentence may be reduced. As an initial matter, the Court

determines that factors similar to the ones that applied at the defendant’s initial

sentencing also apply at this time. Even so, in regard to these factors and in the context

of the instant motion, the Court has considered the nature and circumstances of the

defendant’s offense and the defendant’s history and characteristics.

       The Court has also considered the need for the sentence imposed to reflect the

seriousness of the offense, to promote respect for the law, to provide just punishment for

the offense, to afford adequate deterrence, to protect the public from further crimes of the

defendant, and to provide the defendant with needed education and training, medical

care, or other correctional treatment.2 Further, the Court has considered the kinds of

sentences available and the sentencing range, the need to avoid unwarranted disparities,

and the need to provide restitution to any victims. See 18 U.S.C. § 3553(a). And the

Court has considered the danger to the public as the result of any reduction in the




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         The Court, however, is not intending to, and is not, imposing or lengthening the
defendant’s sentence to enable the defendant to complete a treatment program or otherwise
promote rehabilitation. See generally Tapia v. United States, 131 S. Ct. 2382 (2011).
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defendant’s sentence, the seriousness of the defendant’s offenses, and the need to protect

the public. See U.S. Sentencing Guidelines Manual § 1B1.10, cmt. n.1(B)(ii).

       The government informs the Court that the defendant has been sanctioned on three

separate incidents, but that it has no other information to present in opposition to a

sentence reduction under Amendment 782. The government states that it defers to the

Court’s discretion whether to grant a reduction in the defendant’s sentence, and, if so, to

what extent.

       Accordingly, after considering section 1B1.10 and the relevant § 3553(a) factors,

the Court finds a reduction in the defendant’s sentence to be appropriate. In making this

determination, the Court is particularly influenced by the changes in offense levels

affected by Amendment 782. The Court has also taken into consideration the risk the

defendant poses to public safety, the nature and circumstances of the defendant’s

offense(s), the defendant’s personal characteristics, criminal history, and post-sentencing

conduct.

IV.    Conclusion

       For the reasons stated herein, the defendant’s motion [Doc. 1227] is GRANTED

and the defendant’s sentence is REDUCED to 271 months’ imprisonment. If this

sentence is less than the amount of time the defendant has already served, the sentence

shall be reduced to a “time served” sentence. U.S. Sentencing Guidelines Manual §

1B1.10(b)(2)(C).




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       Except as otherwise provided in this order, all provisions of the judgment dated

April 14, 2006 [Doc. 911], shall remain in effect.

       IT IS SO ORDERED.



                                   s/ Thomas A. Varlan
                                   CHIEF UNITED STATES DISTRICT JUDGE




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